      Case 5:16-cv-00870-XR Document 52 Filed 03/07/18 Page 1 of 3




                      IN IN THE UNITED STATES DISTRICT COURT
                        1.
                             Y1?
                              .5St   TI-T1   W1T1'DN
                                             VT E4L Z TUTDT1T
                                                      MSL S S_t S
                                                   L4.t%L'
                                                                    &ThL'
                                                                     .Ft
                                                                            T1'V   A
                                                                            S .LJflCIL,   j   j
                                                                                                         0
                                         SAN ANTONIO DIVISION                             ""R 0 7 2ni.
                                                                                                  'uto

EUGENE MARTINEZ, DAVID SILVA,
MARIO OLIVAREZ, RUBY
MARTINEZ, AN]) SILVIA TREVINO,

        Plaint ffs,                                            NO. 5:16-CV-00870-XR

vs.


SUPERIOR HEALTHPLAN, INC. AND
CENTENE CORPORATION,

        Defendants.




                      ORDER ON JOINT MOTION FOR CONTINUANCE

        The Court has considered the parties' Third Joint Motion for Continuance and for good

cause shown the Court finds that the Motion should be GRANTED. All deadlines in the Court's

prior scheduling order are amended as follows:


COMPLETION OF DISCOVERY

Written discovery requests are not timely if they are filed so close to this deadline that under the
Federal Rules of Civil Procedure the response would not be due until after the deadline.

The deadline for the completion of all discovery is June 15, 2018.

ALTERNATIVE DISPUTE RESOLUTION (APR) REPORT

The parties asserting claims for relief shall submit a written offer of settlement to opposing
parties on or before July 2, 2018, and each opposing party shall respond, in writing on or before
July 16 2018.

All offers of settlement are to be private, not filed. The parties are ordered to retain the written
offers of settlement and response as the Court will use these in assessing attorneys' fees and costs
at the conclusion of the proceedings.

If a settlement is reached, the parties should immediately notify the Court so the case may be
removed from the Court's trial docket.
    Case 5:16-cv-00870-XR Document 52 Filed 03/07/18 Page 2 of 3




PRETRIAL MOTIONS

No motion (other than a motion in limine) may be filed after this date except for good cause. The
deadline to file motions (including dispositive motions and Daubert motions) is July 2, 2018.
This deadline is also applicable to the filing of any summary judgment motion under Fed. R. Civ.
P. 56 and any defense of qualified immunity. Leave of court is automatically given to file
motions, responses, and replies not to exceed 30 pages in length.8 Fed. R. Civ. P. 6(d) does not
apply to the time limits set forth in Local Rule CV-7 for responses and replies to motions.

JOINT PRETRIAL ORDER AND MOTION IN LIMINE

The deadline to file a Final Joint Pretrial Order and any motion in   limine   is September 14. 2018.

All attorneys are responsible for preparing the Final Joint Pretrial Order, which must contain the
following:

       (1)     a short statement identifying the Court's jurisdiction. If there is an unresolved
              jurisdictional question, state it;
       (2)     a brief statement of the case, one that the judge could read to the jury panel for an
               introduction to the facts and parties;
       (3)     a summary of the remaining claims and defenses of each party;
       (4)     a list of facts all parties have reached agreement upon;
       (5)     a list of contested issues of fact;
       (6)     a list of the legal propositions that are not in dispute;
       (7)     a list of contested issues of law;
       (8)     a list of all exhibits expected to be offered. Counsel will make all exhibits
              available for examination by opposing counsel. All documentary exhibits must be
              exchanged before the final pre-trial conference. The exhibit list should clearly
              reflect whether a particular exhibit is objected to or whether there are no
              objections to the exhibit;
       (9)    a list of the names and addresses of witnesses who may be called with a brief
              statement of the nature of their testimony;
       (10)   an estimate of the length of trial;
       (11)   for a jury trial, include (a) proposed questions for the voir dire examination, and
              (b) a proposed charge, including instructions, definitions, and special
              interrogatories, with authority;
       (12)   for a nonjury trial, include (a) proposed findings of fact and (b) proposed
              conclusions of law, with authority;
       (13)   the signatures of all attorneys; and
       (14)   a place for the date and the signature of the presiding judge.

FINAL PRETRIAL CONFERENCE

The Final Pretrial Conference shall be held on Thxdo..9        ,   Se.f 4ev'vtr     2P,   20 l
   Case 5:16-cv-00870-XR Document 52 Filed 03/07/18 Page 3 of 3




Motions in limine, if any, will be heard on this date. Counsel should confer prior to this hearing
on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending to use a
demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to the
Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

TRIAL

The/T'riai Date is   Ot1$# '9O\             ok ¶3oAI.

       Signed this     jLday of                ,   2018.



                                                      XAVIER RODRIGUEZ
                                                      U.S. DISTRICT JUDGE
                                                      WESTERN DISTRICT OF TEXAS
